                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )
               v.                             )     No. 13-04039-02-CR-C-BCW
                                              )
FRANK COLLINS,                                )
                                              )
                              Defendant.      )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J. Whitworth,
to which no objection has been filed, the plea of guilty to Count Four of the Superseding
Indictment filed on December 11, 2013 is now accepted.     Defendant is adjudged guilty of such
offense. Sentencing will be set by subsequent order of the court.

                                                     /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT

Dated: November 18, 2014




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